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 1   NIMALKA R. WICKRAMASEKERA (SBN: 268518)
     nwickramasekera@winston.com
 2   DAVID P. DALKE (SBN: 218161)
     ddalke@winston.com
 3   WINSTON & STRAWN LLP
     333 S. Grand Avenue
 4   Los Angeles, CA 90071-1543
     Telephone: (213) 615-1700
 5   Facsimile: (213) 615-1750
 6   GEORGE C. LOMBARDI (pro hac vice)
     glombardi@winston.com
 7   BRIAN J. NISBET (pro hac vice)
     bnisbet@winston.com
 8   SARANYA RAGHAVAN (pro hac vice)
     sraghavan@winston.com
 9   WINSTON & STRAWN LLP
     35 West Wacker Drive
10   Chicago, IL 60601-9703
     Telephone: (312) 558-5600
11   Facsimile: (312) 558-5700
12   CORINNE STONE HOCKMAN (pro hac vice)
     chockman@winston.com
13   WINSTON & STRAWN LLP
     800 Capitol Street, Suite 2400
14   Houston, TX 77002-2529
     Telephone: (713) 651-2600
15   Facsimile: (713) 651-2700
16   Attorneys for Defendants
     ALPHATEC HOLDINGS, INC. AND ALPHATEC SPINE, INC.
17
18                          UNITED STATES DISTRICT COURT
19        SOUTHERN DISTRICT OF CALIFORNIA - SAN DIEGO DIVISION
20    NUVASIVE, INC., a Delaware         Case No. 18-CV-00347-CAB-MDD
      corporation,
21                                       DEFENDANTS’ NOTICE OF MOTION
                   Plaintiff,            AND MOTION FOR SUMMARY
22                                       JUDGMENT
            v.
23
      ALPHATEC HOLDINGS, INC., a         Judge: Hon. Cathy Ann Bencivengo
24    Delaware corporation and           Courtroom: 4C
      ALPHATEC SPINE, INC., a
25    California corporation,            PER CHAMBERS RULES, NO ORAL
                                         ARGUMENT UNLESS SEPARATELY
26                 Defendants.           ORDERED BY THE COURT
27
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     DEFENDANTS’ NOTICE OF MOTION AND                    CASE NO. 3:18-CV-00347-CAB-MDD
     MOTION FOR SUMMARY JUDGMENT
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 1   TO THE COURT, ALL PARTIES, AND COUNSEL OF RECORD:
 2         NOTICE IS HEREBY GIVEN that on March 2, 2021 in the United States
 3   District Court for the Southern District of California, located at 333 West Broadway,
 4   Courtroom 15A, San Diego, CA 92101, defendants Alphatec Holdings, Inc. and
 5   Alphatec Spine, Inc. will and hereby do move the Court for an order granting them
 6   summary judgment under Federal Rule of Civil Procedure 56.
 7         Defendants bring this motion for summary judgment on the grounds that claims
 8   1, 5, 10, 18, and 24 of U.S. Patent No. 8,361,156 and claims 16 and 18 of U.S. Patent
 9   No. 8,187,334 are invalid as indefinite.
10         Defendants’ motion is based upon this notice, the memorandum of points and
11   authorities filed concurrently herewith, the accompanying declaration of Brian J. Nisbet
12   (and all exhibits attached thereto), all pleadings, papers, and records on file in this
13   action, all matters subject to judicial notice, and such oral argument as may be presented
14   at a hearing on this matter.
15
     Dated: January 26, 2021                 WINSTON & STRAWN LLP
16
17                                          By: /s/ Nimalka R. Wickramasekera
                                                NIMALKA R. WICKRAMASEKERA
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                                                 Attorneys for Defendants
19                                               ALPHATEC HOLDINGS, INC. AND
                                                 ALPHATEC SPINE, INC.
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     DEFENDANTS’ NOTICE OF MOTION AND                            CASE NO. 3:18-CV-00347-CAB-MDD
     MOTION FOR SUMMARY JUDGMENT
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 1                               CERTIFICATE OF SERVICE
 2         I hereby certify that the foregoing document was filed with the Court’s CM/ECF
 3   system which will provide notice to all counsel deemed to have consented to electronic
 4   service. All other counsel of record not deemed to have consented to electronic service
 5   were served with a true and correct copy of the foregoing document by mail on this day.
 6         I declare under penalty of perjury under the laws of the United States of America
 7   that the above is true and correct. Executed this 26th day of January 2021 at Los
 8   Angeles, California.
 9
10   Dated: January 26, 2021               WINSTON& STRAWN LLP
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                                           By: /s/ Nimalka R. Wickramasekera
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     DEFENDANTS’ NOTICE OF MOTION AND                          CASE NO. 3:18-CV-00347-CAB-MDD
     MOTION FOR SUMMARY JUDGMENT
